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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 7

COACH USA, Inc. et al.,1                                       Case No. 24-11258 (MFW)

                        Debtors.                               (Jointly Administered)
                                                               Hearing: March 5, 2025 at 2:00 p.m. (et)
                                                               Objections due: February 17, 2025 at 4:00 p.m. (et)

                     MOTION FOR AN ORDER AUTHORIZING THE
               RETENTION AND EMPLOYMENT OF FOX ROTHSCHILD LLP
             AS ATTORNEYS FOR ALFRED T. GIULIANO, CHAPTER TRUSTEE,
            PURSUANT TO 11 U.S.C. §§ 327(a) AND 328(a), FED. R. BANKR. P. 2014,
             AND DEL. BANKR. L.R. 2014-1, EFFECTIVE AS OF JANUARY 2, 2025

           Alfred T. Giuliano (the “Trustee”), the Chapter 7 trustee for the estate of Coach USA, Inc.

and its affiliated Debtors (the “Debtors”), respectfully requests the entry of an Order, pursuant to

11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014, and L.B.R. 2014-1, authorizing the

employment and retention of Fox Rothschild LLP (“Fox Rothschild”) as his attorneys in these

cases, effective as of January 2, 2025 (the “Motion”). In support of this Motion, the Trustee

submits the Affidavit of Michael G. Menkowitz, Esquire (the “Menkowitz Affidavit”), which is

attached hereto as Exhibit A and incorporated by reference herein, and respectfully represents as

follows:

                                       JURISDICTION AND VENUE

           1.      The Court has jurisdiction over this Motion, pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding, pursuant to 28 U.S.C. § 157(b)(2)(A).




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    . The Debtors’ mailing address is 160 S Route 17 North, Paramus, NJ 07652.
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       2.     Venue of this proceeding and this Motion is proper in this district, pursuant to 28

U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief sought herein are Sections 327 and 328 of Title

11 of the United States Code (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the Local Rules for the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”).

                                         BACKGROUND

       4.      On June 11, 2024 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Court”).

       5.      On December 18, 2024, the Court entered an Order converting the chapter 11 cases

to cases under chapter 7 of the Bankruptcy Code [D.I. 1050].

       6.      On December 31, 2024, the Office of the United States Trustee appointed the

Trustee as Chapter 7 trustee, which appointment remains in effect [D.I. 1061].

       7.      Prior to the Petition Date, the Debtors were one of the leading providers of ground

passenger transportation and mobility solutions in North America. In addition to the household

name “Coach USA,” the Company operates under several other brands, including: Megabus,

Coach Canada, Coach USA Airport Express, Dillon’s Bus Company, and Go Van Galder. Through

its affiliates and subsidiaries, and under various brand names, the Company has been offering

passenger transportation solutions for over 100 years. More detailed information on the Debtors’

background and business operations may be found in the Declaration of Spencer Ware in Support

of the Debtors’ Chapter 11 Petitions and Requests for First Day Relief [D.I. 15].




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        8.      The Trustee is seeking, subject to this Court’s approval, to retain Fox Rothschild as

his attorneys in connection with the administration of these cases, effective as of January 2, 2025.

                                      RELIEF REQUESTED

        9.      By this Motion, pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014

and L.B.R. 2014-1, the Trustee seeks entry of an Order authorizing him to retain and employ Fox

Rothschild, effective as of January 2, 2025, as his attorneys to represent and assist the Trustee in

these chapter 7 cases.

                               BASIS FOR RELIEF REQUESTED

        10.     Section 327(a) of the Bankruptcy Code provides that a Chapter 7 trustee may

employ an attorney to represent or assist the Chapter 7 trustee in carrying out the trustee’s duties,

so long as the proposed attorney is “disinterested,” as that term is defined in Section 101(14) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the estate. See 11

U.S.C. § 327(a).

        11.     Section 328(a) of the Bankruptcy Code empowers a Chapter 7 trustee to employ,

subject to court approval, an attorney to perform services for a Chapter 7 trustee under any

reasonable terms and conditions of employment, including a retainer, on an hourly basis, or on a

contingent fee basis. See 11 U.S.C. § 328(a).

        A.      Fox Rothschild’s Qualifications

        11.     The Trustee seeks to employ Fox Rothschild because of its extensive experience

and knowledge in matters of this nature and believes that Fox Rothschild is well-qualified and

competent to perform the services required by the Trustee. Fox Rothschild has advised the Trustee

that it may have previously represented, may currently represent, and may in the future represent,

entities that are claimants of the Debtors or other parties-in-interest in this case. Fox Rothschild

has not, and will not, represent any such party, or any of their affiliates or subsidiaries, in relation


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to the Trustee, the Debtors, or this case. The Trustee believes Fox Rothschild is qualified to

represent the Trustee in this case.

       B.      Scope of Employment

       12.     The professional services that Fox Rothschild will provide to the Trustee include,

but shall not be limited to, the following:

               a.      Providing legal advice with respect to the powers and duties as a Trustee;

               b.      Preparing, on behalf of the Trustee, any necessary applications, complaints,
                       motions, answers, orders, reports, and other legal papers;

               c.      Appearing in Court and protecting the interests of the Trustee, the estate,
                       and the creditors; and

               d.      Performing all other legal services for the Trustee that may be necessary
                       and proper in this case.

       C.      Compensation and Fee Applications

       13.     Subject to Court approval, and in accordance with Section 330 of the Bankruptcy

Code, compensation will be payable to Fox Rothschild at its normal and customary rates, plus

reimbursement of actual, necessary expenses and other charges incurred. The principal attorneys

and paralegals presently designated to represent the Trustee and their current standard hourly rates

are:

               a.      Michael G. Menkowitz (Partner)                $1,275 per hour

               b.      Jesse M. Harris (Associate)                   $625 per hour

               c.      Stephanie Slater Ward (Associate)             $625 per hour

               d.      Robert H. Eisentrout (Associate)              $540 per hour

               e.      Matthew A. Skolnick (Associate)               $495 per hour

               f.      Noah Thomas (Associate)                       $450 per hour

               g.      Robin I. Solomon (Paralegal)                  $555 per hour



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               h.     Marcia Steen (Paralegal)                      $505 per hour

       14.     The hourly rates set forth above are Fox Rothschild’s standard hourly rates for work

of this nature. These rates are set at a level designed to fairly compensate Fox Rothschild for the

work of its attorneys and paralegals, and to cover fixed and routine overhead expenses. These

rates are subject to periodic adjustments to reflect economic and other conditions. Other attorneys

and paralegals may from time to time serve the Trustee in connection with the matters herein

described.

       15.     It is Fox Rothschild’s policy to charge its clients in all areas of practice for all

expenses incurred in connection with a client’s case. The expenses charged to clients include,

among other things, telephone and telecopier toll and other charges, mail and express mail charges,

special or hand delivery charges, document retrieval, photocopying charges, scanning, charges for

mailing supplies (including, without limitation, envelopes and labels) provided by Fox Rothschild

to outside copying services for use in mass mailings, travel expenses, expenses for “working

meals,” computerized research, transcription costs, as well as non-ordinary overhead expenses.

Fox Rothschild will charge the Trustee for these expenses in a manner and at rates consistent with

charges made generally to Fox Rothschild’s other clients. Fox Rothschild believes that it is more

fair to charge these expenses to the clients incurring them than to increase the hourly rates and

spread the expenses among all clients.

       16.     Fox Rothschild has not received or requested a retainer in this case.

       17.     Fox Rothschild intends to apply to the Court for interim and final allowance of

compensation for professional services rendered and reimbursement of expenses incurred, in

accordance with Sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, and such other procedures as may be fixed by orders entered by the Court.




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       18.       The Trustee submits that the compensation arrangements with Fox Rothschild are

reasonable, at market rates, and similar to the rates charged to other clients in similar

circumstances.

       D.        Disinterestedness and Disclosure of Connections

       19.       Except as disclosed in the Menkowitz Affidavit, Fox Rothschild does not represent

any entity having an adverse interest with this case. To check and clear potential conflicts of

interest in this case, Fox Rothschild researched its client database to determine whether it had any

relationships with the following entities, limited to potential conflicts in its engagements as

attorneys to the Trustee (collectively, the “Interested Parties”):

                 a.     The Debtors;

                 b.     The Debtors’ former officers and/or directors;

                 c.     The bankruptcy judges of the United States Bankruptcy Court for the
                        District of Delaware;

                 d.     The Office of the United States Trustee (Delaware division);

                 e.     The Debtors’ known secured/unsecured creditors; and

                 f.     Other known parties with an actual or potential interest.

A full list of the Interested Parties searched is attached to the Menkowitz Affidavit as Schedule A

and incorporated by reference herein.       To the extent that Fox Rothschild’s research of its

relationships with the Interested Parties indicates that Fox Rothschild has represented or currently

represents any of these entities, the identities of these entities are disclosed on Schedule B of the

Menkowitz Affidavit.

       20.       To the best of the Trustee’s knowledge, and except as otherwise disclosed in the

Menkowitz Affidavit: (a) Fox Rothschild has no connection with the Debtors, the Debtors’ known

secured/unsecured creditors, the Office of the United States Trustee for the District of Delaware,



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any person employed in the Delaware Office of the United States Trustee, or any other known

party with an actual or potential interest in this case or their respective attorneys; (b) Fox

Rothschild is not, and has not been, an investment banker for any outstanding securities of the

Debtors; (c) Fox Rothschild does not hold or represent an interest adverse to the Debtors’ estate;

and (d) Fox Rothschild is a “disinterested person” as that phrase is defined in Section 101(14) of

the Bankruptcy Code.

        21.     The Trustee contends that Fox Rothschild’s employment is necessary and in the

best interests of the Trustee, the Debtors’ estate, and its creditors.

                                              NOTICE

        22.     Notice of this Motion will be provided to: (a) the Office of the United States Trustee

for the District of Delaware; (b) counsel for the Debtors; (c) creditors that hold claims for which

proofs of claim have been filed as of the date of this Motion; and (d) those persons who have

requested notice pursuant to Bankruptcy Rule 2002. The Trustee submits that no further notice is

required and requests that the Court determine such notice is adequate and proper.

                                           CONCLUSION

        WHEREFORE, the Trustee respectfully requests the entry of an order: (i) authorizing him,

pursuant to 11 U.S.C. §§ 327 and 328, Fed. R. Bankr. P. 2014, and L.B.R. 2014-1, to retain and

employ Fox Rothschild as his attorneys in this case, effective as of January 2, 2025; and (ii)

granting such other relief as is just and proper.


                                                Respectfully submitted,

                                                /s/ Alfred T. Giuliano
                                                Alfred T. Giuliano, Chapter 7 Trustee

Dated: January 31, 2025




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